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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Action No. 21-cr-00229-RBJ

 UNITED STATES OF AMERICA,

        Plaintiff,
 v.

 1. DAVITA INC.,
 2. KENT THIRY,

        Defendants.

          UNITED STATES’ MOTION TO EXCLUDE DEFENDANTS’ EXPERT

        The United States moves in limine to exclude Dr. Pierre-Yves Cremieux from testifying

 as an expert under Federal Rule of Criminal Procedure 16 and Federal Rule of Evidence 702.

 Defendants’ Rule 16 disclosure is inadequate, and Defendants have not met their burden of

 establishing that Dr. Cremieux’s supposed expert economic opinions are relevant and reliable

 under Rule 702. Dr. Cremieux should therefore be excluded from testifying as an expert; in the

 alternative, the Court should order supplemental disclosure and require Defendants to satisfy

 their burden of relevance and reliability at a pre-trial Daubert hearing.

                                          BACKGROUND

        On July 14, 2021, a grand jury in this district returned an Indictment charging Defendants

 with two counts of conspiring to restrain trade in violation of Section 1 of the Sherman Act, 15

 U.S.C. § 1 (ECF No. 1), and on November 3, 2021, the grand jury returned a Superseding

 Indictment adding an additional Section 1 charge (ECF No. 74). The Superseding Indictment

 charges Defendants with per se violations of the Sherman Act for conspiring to restrain

 competition for employees.


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         On July 20, 2021, both Defendants, “understanding [their] burden of reciprocal discovery

 as set forth in Rule 16(b)(1)(C),” elected in their respective Discovery Conference and

 Memorandum Order to “request[] disclosure of a written summary of testimony the government

 intends to use under Rule 702, 703, or 705 of the Federal Rules of Evidence, relating to expert

 testimony and opinions of experts, during its case in chief at trial, as set forth in Rule

 16(a)(1)(G)” (ECF Nos. 21 & 22 at ¶ I.A.9). Defendants reiterated this request in a letter dated

 October 19, 2021. By letter dated October 28, 2021, the United States informed Defendants that

 the government “does not intend to introduce” such expert testimony “during its case-in-chief at

 trial,” and asked Defendants to “provide promptly a written summary of any” such expert

 “testimony that either Defendant intends to use . . . at trial.”

         On December 3, 2021, two weeks before the Rule 702 motions deadline, see Order

 Setting Case Schedule (ECF. No. 39), Defendants purported to comply with their disclosure

 obligations pursuant to Rule 16(b)(1)(C) by disclosing “a summary of the expected testimony of

 Dr. Pierre-Yves Cremieux.” This five-page letter is attached as Exhibit A. Defendants posit that

 Dr. Cremieux “will provide expert economic analysis” at trial, Ex. A at ¶ I.6, and “testify that . . .

 the economic evidence does not support the existence of a labor market allocation agreement,”

 id. at ¶ II.A.1. The purported “economic evidence” consists of six separate sub-opinions

 summarized in approximately 565 words, and hereinafter referred to as Opinions A through F.

 See Ex. A at ¶ II.A.1.a.-f. Outside of the purported Rule 16 disclosure, Defendants have taken no

 additional steps to support the admissibility of Dr. Cremieux’s proposed testimony.

                                        LEGAL STANDARD

         Rule 16. Federal Rule of Criminal Procedure 16(b)(1)(C) provides that a defendant’s

 expert disclosure must describe (1) the witness’s opinions, (2) the bases and reasons for those

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 opinions, and (3) the witness’s qualifications. Fed. R. Crim. P. 16(b)(1)(C). The disclosure

 requirements are “intended to minimize surprise that often results from unexpected expert

 testimony, reduce the need for continuances, and to provide the opponent with a fair opportunity

 to test the merit of the expert’s testimony through focused cross-examination.” 1993 Adv.

 Comm. Notes to Fed. R. Crim. P. 16. If a defendant fails to comply with Rule 16, the Court may

 order additional discovery, grant a continuance, exclude the evidence, or “enter any other order

 that is just under the circumstances,” Fed. R. Crim. P. 16(d)(2), although excluding evidence is

 rare, United States v. Sarracino, 340 F.3d 1148, 1170 (10th Cir. 2003).

        Rule 702. In addition to satisfying the discovery obligations of Rule 16, Defendants bear

 an independent “burden of showing that [their] proffered expert’s testimony is admissible” under

 Rule 702. United States v. Nacchio, 555 F.3d 1234, 1241 (10th Cir. 2009) (en banc)

 (distinguishing between Rule 702 and Rule 16).

        Expert testimony is admissible only if it “will help the trier of fact to understand the

 evidence or to determine a fact in issue,” Fed. R. Evid. 702(a), “is based on sufficient facts or

 data,” id. 702(b), “is the product of reliable principles and methods,” id. 703(c), and “the expert

 has reliably applied the principles and methods to the facts of the case,” id. 703(d). “Put another

 way, the evidence must be both relevant and reliable.” Heatherman v. Ethicon, Inc., 2020 WL

 5798533, at *2 (D. Colo. Sept. 29, 2020) (Jackson, J.) (quoting Daubert v. Merrell Dow

 Pharms., Inc., 509 U.S. 579, 591 (1993)).

        Rule 702 sets up an important gatekeeping function that “requires a district court to

 assess proffered expert testimony to ensure it is both relevant and reliable.” United States v.

 Avitia-Guillen, 680 F.3d 1253, 1256 (10th Cir. 2012). “Although a district court has discretion in

 how it performs its gatekeeping function, ‘when faced with a party’s objection, [the court] must

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 adequately demonstrate by specific findings on the record that it has performed its duty as

 gatekeeper.’” Id. (quoting Goebel v. Denver & Rio Grande W. R.R. Co., 215 F.3d 1083, 1088

 (10th Cir. 2000)). To do this, the Court “must assess the ‘reasoning and methodology underlying

 the expert’s opinion,’ and must ultimately determine ‘whether it is scientifically valid and

 applicable to a particular set of facts.” Heatherman, 2020 WL 5798533, at *2 (quoting Goebel,

 215 F.3d at 1087); see also United States v. Vann, 776 F.3d 746, 757 (10th Cir. 2015) (“[D]istrict

 court must satisfy itself that the proposed expert testimony is both reliable and relevant, in that it

 will assist the trier of fact before permitting a jury to assess such testimony.” (cleaned up)).

        The Court “has discretion as to how to perform this gatekeeping function.” Heatherman,

 2020 WL 5798533, at *2. And although this “is not a role that emphasizes exclusion of expert

 testimony,” the proponent still has a burden of establishing, and the Court still must find, that the

 testimony is relevant and reliable. Id.; see also United States v. Yurek, 2017 WL 2930577, at *2

 (D. Colo. July 7, 2017) (“[S]ince Defendants are now on notice of the Government’s Daubert

 challenge, they must carry that burden in their disclosure and/or response to Defendant’s Motion,

 and cannot simply wait until trial to make at least a prima facie showing of admissibility under

 Rule 702.”). The Court may hold a Daubert hearing to make this determination, but it may

 exclude the testimony even without such a hearing if a defendant does not satisfy its burden

 when confronted with a motion to exclude the testimony for failing to satisfy Rule 16 and Rule

 702. See Nacchio, 555 F.3d at 1238-39, 1241-42 (affirming exclusion of expert testimony in

 criminal case following motion under Rule 16 and Rule 702 without a Daubert hearing).

        Rule 16 and Rule 702 go hand in hand in one more important respect. “If a court deems

 expert testimony relevant and reliable, further challenges to that testimony should be directed to

 its weight, not its admissibility,” where “[t]he challenging party has many tools at its disposal

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 even if the testimony is admitted,” including “[v]igorous cross-examination.” Heatherman, 2020

 WL 5798533, at *2 (quoting Daubert, 509 U.S. at 596). And in order to perform such “vigorous

 cross-examination,” the Rule 16 disclosure must be sufficiently robust. See 1993 Adv. Comm.

 Notes to Fed. R. Crim. P. 16 (Disclosure requirements “intended . . . to provide the opponent

 with a fair opportunity to test the merit of the expert’s testimony through focused cross-

 examination.”).

                                           ARGUMENT

        Defendants’ disclosure provides a bare-bones sketch of Dr. Cremieux’s anticipated

 testimony, while providing no explanation of his methodologies or the data on which he relied

 for any specific opinion. More troublingly, the disclosure reflects that Defendants intend to use

 their expert as a backdoor means of offering impermissible testimony concerning purported

 procompetitive justifications of the agreement—testimony that is prohibited in per se cases.

        A.      Defendants’ Expert Disclosure Is Insufficient Under Rule 16

        The United States objects to Opinions A, B, C, D, E, and F for failing to provide adequate

 disclosure under Rule 16. See Ex. A at ¶ II.A.1.a.-d. “[C]ases involving technical or scientific

 expertise,” such as the posited economic opinions here, “require greater disclosure” under Rule

 16. Yurek, 2017 WL 2930577, at *2 (citing United States v. Jackson, 51 F.3d 646, 651 (7th Cir.

 1995)). Defendants’ disclosure here fails to meet Rule 16’s requirements.

        Opinion A states in full:

        Dr. Cremieux’s opinion is that the evidence regarding employee separations at
        DaVita does not align with the expected effect of a labor market allocation
        agreement. Dr. Cremieux analyzed DaVita’s separation rates for the relevant sets
        of DaVita employees. That analysis confirms, in Dr. Cremieux’s opinion, that the
        relevant separation rates were not depressed during the alleged conspiracy periods.




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 Ex. A at ¶ II.A.1.a. This summary fails to identify: (1) the ex ante “expected effect” on employee

 separations; (2) the economically sound methodology of the analysis performed to obtain the

 separation rates; (3) the source of the data analyzed pursuant to this methodology; (4) what

 “DaVita’s separation rates” were; (5) who the “relevant sets of DaVita employees” encompass;

 (6) how those employees were identified and/or deemed to be “relevant”; and (7) what

 “separation rates” Dr. Cremieux found.

        Opinion B states in full:

        Dr. Cremieux’s opinion is that patterns of DaVita employee compensation do not
        align with the expected effects of a labor market allocation agreement. In particular,
        Dr. Cremieux’s analysis of DaVita-specific compensation data and national
        benchmarks does not reveal a depression in the compensation of DaVita senior-
        level employees specific to the alleged conspiracy periods; in fact, the elevation of
        median salary for DaVita senior-level employees above benchmarks is higher
        during the alleged conspiracy periods than before or after.

 Ex. A at ¶ II.A.1.b. This summary fails to identify: (1) the ex ante “expected effects” on

 “patterns” of employee compensation; (2) the economically sound methodology of the analysis

 performed to obtain the “patterns” of employee compensation and determine there was no

 “depression”; (3) the source of the “DaVita-specific compensation data” analyzed pursuant to

 this method; (4) what the median salary was; (5) what “national benchmarks” or “benchmarks”

 Dr. Cremieux analyzed; (6) what period “before [and] after” the conspiracy period Dr. Cremieux

 selected and why; (7) the economically sound methodology used to compare DaVita’s median

 salary to national benchmarks, including whether Dr. Cremieux utilized a regression analysis to

 account for supply and demand factors that influence the price of labor, as generally required

 when analyzing price differences between the conspiracy period and the non-conspiracy

 (normative) period, see In re Aluminum Phosphide Antitrust Litig., 893 F.Supp. 1497, 1502-05

 (D. Kan. 1995); and (8) the actual results of that comparison.

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        Opinion C states in full:

        Dr. Cremieux is expected to testify that evidence concerning employees at DaVita
        who provided notice that there [sic] were considering positions outside of DaVita
        often received offers for promotions, increased compensation and/or different job
        responsibilities, contrary to the allegation that DaVita entered into notice
        agreements with the entities identified in Counts 1, 2 and 3 of the Indictment as part
        of a market allocation agreement for labor. Dr. Cremieux is expected to testify and
        address the recruitment of specific employees that the Government may present at
        trial, including his analysis of the effects and incentives of alleged conduct.

 Ex. A at ¶ II.A.1.c. This summary fails to identify: (1) what supposed evidence or scenarios Dr.

 Cremieux examined; (2) how the evidence or scenarios were selected by an economically sound

 method; (3) the rate of supposed positive employment outcomes; (4) the economically sound

 methodology used to determine his opinion that the rate found can be described as “often.”

        Opinion D states in full:

        Dr. Cremieux is expected to testify that, in his opinion, there was a lack of economic
        incentive for DaVita to enter into market allocation agreements for senior-level
        employees with the companies identified in the Indictment, making the existence
        of a labor market allocation agreement less likely. In particular, Dr. Cremieux is
        expected to testify that:
        (i)     The competition for senior-level DaVita employees was broad. Data
        suggests that during and outside the alleged conspiracy periods, senior-level
        employees departed DaVita for hundreds of other companies. These destination
        companies were not confined to the outpatient care industry or to the broader
        healthcare industry (which comprises thousands of companies), and the pool of
        potential destinations may have been far larger than the set of actual destination
        companies.
        Even outside the alleged conspiracy periods, moreover, the three companies
        referenced in the Indictment are a destination for a tiny fraction of senior-level
        employees departing DaVita. Market allocation agreements with those three
        companies could not reasonably be expected to have a material impact on employee
        compensation or employee turnover rates.
        (ii)    The defendants and their alleged co-conspirators had little, if any, power to
        suppress competition and wages, and correspondingly little, if any, incentive to
        enter into an agreement since such an agreement could not restrict competition for
        labor.

 Ex. A at ¶ II.A.1.d. The summary for sub-opinion (i) fails to identify: (1) the economically sound

 methodology Dr. Cremieux used to determine that competition for DaVita employees was
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 “broad”; (2) what “[d]ata” he analyzed; (3) the “tiny fraction” he purports to have found; (4)

 what economically sound methodology Dr. Cremieux used to opine that the “[m]arket allocation

 agreements . . . could not reasonably be expected to have a material impact on employee

 compensation or employee turnover rates”; (5) Dr. Cremieux’s economically sound definition of

 “material”; (6) whether he performed a market analysis to arrive at the opinion, and; (7) if so, the

 results. The summary for sub-opinion (ii) fails to identify: (1) the economically sound

 methodology Dr. Cremieux to determine that the conspirators “had little, if any, power to

 suppress competition and wages”; (2) the economically sound methodology he use to determine

 that the conspirators had “little, if any, incentive to enter into an agreement”; (3) whether he

 performed a market analysis to arrive at the opinion, and; (4) if so, the results.

        Opinion E states in full:

        Dr. Cremieux is expected to testify that the defendants’ alleged conduct with regard
        to recruiting and hiring was consistent with those companies’ and individuals’
        independent self-interest and thus provides no economic basis to infer a labor
        market allocation agreement from those actions.

 Ex. A at ¶ II.A.1.e. This summary fails to identify: (1) what economically sound methodology

 Dr. Cremieux used to determine the “companies’ and individuals’ independent self-interest”; and

 (2) what that “independent self-interest” was.

        Opinion F states in full:

        Dr. Cremieux is expected to testify that limitations on recruiting and hiring may
        help to promote or allow other joint economic activity. DaVita discussed various
        business opportunities with SCA during the alleged conspiracy period, and Dr.
        Cremieux is expected to testify that limitations on recruiting may be expected,
        based on economic theory, to promote or allow such business arrangements, and so
        limitations that SCA may have placed on its own recruitment or hiring from DaVita
        would be in its own independent interest.

 Ex. A at ¶ II.A.1.f. This summary fails to identify: (1) what “limitations on recruiting and hiring”

 Dr. Cremieux analyzed; (2) what economically sound methodology he used to determine such
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 limitations “may help” to promote or allow other joint economic activity; (3) the “various

 business opportunities with SCA” he examined; (4) what “economic theory” would cause him to

 “expect[]” to a degree of scientific certainty that “limitations on recruiting may be expected.”

        Finally, the disclosure provides only a six-bullet-pointed list of “[t]he bases of Dr.

 Cremieux’s testimony” that are vague and not tied to any particular opinion. Ex. A at ¶ 2. None

 of the cited data include a citation by Bates number to any document produced in discovery. Id.

 at ¶ 2.a. (“compensation and termination data”); id. at ¶ 2.b. (“benchmark compensation and

 turnover data”); id. at ¶ 2.c. (“LinkedIn data”). One basis arguably includes every email

 produced in discovery: “His analysis of ordinary course communications and documents

 produced by the parties in the case.” Id. at ¶ 2.d. And the remaining are so broad as to include the

 entirety of the labor market and Dr. Cremieux’s expertise. Id. at ¶ 2.e. (“labor market

 conditions”); id. at ¶ 2.f. (“His experience and expertise”).

        B.      Even If Adequately Disclosed, the Opinions Are Not Relevant to a Per Se
                Sherman Act Charge

                        Opinions A, B, C, and E Advance Impermissible Reasonableness
                        Arguments

       For per se illegal restraints “the law does not permit an inquiry into their reasonableness”

 or “economic justification.” United States v. Socony-Vacuum Oil Co., 310 U.S. 150, 224 n.59

 (1940). As the Tenth Circuit explained recently, defendants charged with per se antitrust offenses

 cannot extol a “restraint’s salutary effect on competition and commerce” as a means of avoiding

 liability. United States v. Kemp & Assocs., Inc., 907 F.3d 1264, 1272 (10th Cir. 2018); see

 also United States v. Suntar Roofing, Inc., 897 F.2d 469, 473 (10th Cir. 1990) (affirming ruling

 “preclud[ing]” defendants “from introducing evidence of reasonableness or justification at

 trial”). Defendants, however, seek to do just that through Dr. Cremieux.

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        Although couched as supporting an opinion that “the economic evidence does not support

 the existence of a labor market allocation agreement,” Ex. A at ¶ II.A.1., Opinions A, B, and E

 are obvious efforts to backdoor impermissible evidence or arguments in an attempt to show the

 conduct was procompetitive or otherwise justified. Opinion A purports to opine that “separation

 rates were not depressed.” Id. at ¶ II.A.1.a. Opinion B states that there was an “elevation of

 median salary for DaVita senior-level employees” during the conspiracy. Id. at ¶ II.A.1.b. These

 claimed “salutary effects,” even if true, cannot be advanced as arguments to avoid liability. See

 Kemp, 907 F.3d at 1272. Likewise, for Opinion E, Dr. Cremieux plans to testify that the

 “defendants’ alleged conduct with regard to recruiting and hiring was consistent with those

 companies’ and individuals’ independent self-interest.” Ex. A at ¶ II.A.1.e. But all per se

 agreements are in the conspirators’ independent self-interest, otherwise there would be no reason

 to enter into them. Opinion E, therefore, is nothing more than an “economic justification” for the

 alleged conduct that is not relevant to a Sherman Act charge. Socony-Vacuum Oil Co., 310 U.S.

 at 224 n.59.

        Opinion C does not even attempt to hide its procompetitive arguments behind what one

 would “expect” if there was an agreement and instead is a straightforward argument that the

 illegal agreements benefited employees. Defendants’ expert is attempting to opine that

 “employees at DaVita who provided notice that there [sic] were considering positions outside of

 DaVita often received offers for promotions, increased compensation and/or different job

 responsibilities.” Ex. A at ¶ II.A.1.c. Unlike Opinions A, B, and E, there is not even the veneer of

 comparing the rate or magnitude of the offers to what would be “expected” absent an illegal

 agreement. The supposed benefits of the agreement in Opinion C are not relevant to a per se

 charge and should be excluded.

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        Finally, Opinion D is nothing more than an opinion on a supposed lack of market power

 that is irrelevant to the per se analysis. There, Dr. Cremieux purports to examine the economic

 incentives of Defendants given his opinion that the “competition for senior-level DaVita

 employees was broad” and they had “little, if any, power to suppress competition and wages.”

 Ex. A at ¶ II.A.1.d. But such an inquiry into market forces is foreclosed by the per se rule. See

 Socony-Vacuum, 310 U.S. at 224 n.59 (finding irrelevant whether conspirators “have power to

 control the market”).

                         Opinion C Does Not “Assist the Trier of Fact”

        Expert opinion must be based on “scientific, technical, or other specialized knowledge”

 that “will help the trier of fact to understand the evidence or to determine a fact in issue.” Rule

 702(a); see also Vann, 776 F.3d at 757. For Opinion C, Dr. Cremieux plans “to testify that

 evidence concerning employees at DaVita who provided notice that there [sic] were considering

 positions outside of DaVita often received offers for promotions, increased compensation and/or

 different job responsibilities.” Ex. A at ¶ II.A.1.c. Although such evidence of “salutary effect[s]”

 is not relevant to a per se case, Kemp, 907 F.3d at 1272; see also Part B.1, supra, an offer of

 promotion or increased compensation would be obvious to the jury from any direct evidence

 Defendants could admit. There is no reason why an economic expert is needed to interpret such

 evidence, and Opinion C does not even purport to offer any expert interpretation.

                         Opinion F Is Irrelevant to Any Ancillarity Defense

        Opinion F—where Dr. Cremieux plans to opine “that limitations on recruiting and hiring

 may help to promote or allow other joint economic activity”—should be excluded as irrelevant.

 As an initial matter, an opinion that the nonsolicitation agreements “may help” other joint



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 economic activity is of no help to the jury because it is entirely consistent with an opinion that it

 may not. Even if credited, the opinion is irrelevant to an ancillarity defense.

        The ancillary-restraints doctrine “governs the validity of restrictions imposed by a

 legitimate business collaboration, such as a business association or joint venture, on nonventure

 activities.” Texaco Inc. v. Dagher, 547 U.S. 1, 7 (2006). Under the doctrine, an agreement in

 restraint of trade (such as a market allocation agreement) ordinarily condemned as per se

 unlawful becomes subject to the rule of reason if it is truly ancillary. To be ancillary, the

 restraint, at the time it was adopted, must be subordinate and collateral to a legitimate business

 venture, and must be reasonably necessary to achieve the legitimate purpose of the legitimate

 business venture. Polk Bros., Inc. v. Forest City Enters., Inc., 776 F.2d 185, 188-89 (7th Cir.

 1985); Addyston Pipe, 85 F. at 281 (6th Cir. 1898); Aya Healthcare Servs. v. AMN Healthcare,

 Inc., 9 F.4th 1102, 1109 (9th Cir. 2021).

        In Opinion F, Dr. Cremieux cannot point to any “legitimate business venture” that would

 qualify as a valid predicate for an ancillarity defense. Ex. A at ¶ II.A.1.f. Instead, he plans to

 opine on how the illegal agreements “may help to promote or allow other joint economic

 activity.” Ex. A at ¶ II.A.1.f. But the ancillary-restraints doctrine requires an actual business

 venture that the restraint is subordinate and collateral to at the time it was adopted, not in

 anticipation of a venture, let alone a venture that never materialized. See Polk Bros., 776 F.2d at

 188-89. Opinion F is simply irrelevant to the ancillary-restraints question and should therefore be

 excluded.

        C.      The Opinions Are Not Reliable Under Rule 702.

        “Reliability questions” under Rule 702, “may concern the expert’s data, method, or his

 application of the method to the data.” United States v. Nacchio, 555 F.3d 1234, 1241 (10th Cir.

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 2009) (en banc). By failing to disclose Dr. Cremieux’s data and methodology, Defendants fail to

 establish any one of these three reliability requirements.

        Defendants “must show that the method employed by the expert . . . is scientifically

 sound and that the opinion is based on facts which satisfy Rule 702’s reliability requirements.”

 Nacchio, 555 F.3d at 1241 (quoting Dodge v. Cotter Corp., 328 F.3d 1212, 1222 (10th Cir.

 2003)). Proffered expert testimony should be excluded if even one “step” of the methodology is

 unreliable, and “[t]his is true whether the step completely changes a reliable methodology or

 merely misapplies that methodology.” Id. (quoting Mitchell v. Gencorp, Inc., 165 F.3d 778, 782

 (10th Cir. 1999)). “In making a reliability determination, ‘[g]enerally, the district court should

 focus on an expert’s methodology rather than the conclusions it generates.’” Id. (quoting Dodge,

 328 F.3d at 1222). If the expertise is in a field where academic papers are published, such as the

 economics field in which Dr. Cremieux publishes, courts often consider whether the expert has

 shown that the methodology is supported by published articles or papers that validate the

 approach used. See, e.g., Kumho Tire Co. v. Carmichael, 526 U.S. 137, 157 (1999) (rejecting tire

 expert’s methodology and observing that there was no reference “to any articles or papers that

 validate [the expert’s] approach”); Lantec, Inc. v. Novell, Inc., 306 F.3d 1003, 1025 (10th Cir.

 20002) (affirming exclusion where, inter alia, economist failed to cite studies); Law v.

 NCAA, 185 F.R.D. 324, 341 (D. Kan. 1999) (excluding expert where “record contains no

 evidence that expert economists do the job that Dr. Umback purported to do in his damage

 calculations”); In re Aluminum Phosphide Antitrust Litig., 893 F. Supp. 1497, 1502-05 (D. Kan.

 1995) (excluding economic expert because model failed to use regression analysis).

        As described in Part A, supra, Defendants’ disclosure fails to detail what data Dr.

 Cremieux relied on for any opinion. Without explaining what data sets he used for each separate

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 opinion, and the rationale for the data sets selected, it is impossible for the Court to make the

 required threshold finding that Dr. Cremieux’s opinions are “based on sufficient facts or data,”

 Rule 702(b), or whether he applied the right methodology to the data, Nacchio, 555 F.3d at 1241;

 see also Lantec, 306 F.3d at 1025 (10th Cir. 20002) (affirming exclusion of expert economist

 where, inter alia, he “used unreliable data”).

        As further described in Part A, supra, Defendants’ disclosure also fails to explain what

 economically rigorous methodology Dr. Cremieux used to arrive at any one of his opinions.

 Defendants’ disclosure here is remarkably similar to the one rejected by the district court in

 Nacchio and affirmed by the Tenth Circuit. In Nacchio, the defendant was charged with insider

 stock trading. 555 F.3d at 1236. The proposed economic expert opinion “that the economic

 evidence is not consistent with the Government’s allegation that Mr. Nacchio’s stock sales . . .

 were made on the basis of material nonpublic information.” United States’ Mot. to Exclude

 Testimony, United States v. Nacchio, No. 05-cr-00545-EWN, 2007 WL 1017516, at Part III.A.

 (D. Colo. April 3, 2007) (quoting disclosure). This opinion was supported by various sub-

 opinions, including that the expert analyzed various trades before and after the questioned trades

 and found the “pattern” to be “consistent” with the questioned trades, that the questioned trades

 were “consistent” with the defendant’s “stated preference,” and that defendant did not have “any

 incentive to not disclose material inside information.” Id. at Part III.A.1.-3. Even though the

 expert disclosure therefore “outlined the bases for [the expert’s] opinions and highlighted

 specific expected areas of testimony as well as the documents and data reviewed,” including how

 the expert had conducted a study of the stock sales compared “to various benchmarks,” 555 F.3d

 at 1238, the district court found the disclosure to suffer from a “gross defect in failing to reveal

 the methodology” and excluded the opinion, id. at 1239 (quoting and affirming district court’s

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 exclusion order). So too here. All Defendants have done is disclosed Dr. Cremieux’s ultimate

 conclusions, but have failed to explain his method for arriving at them.

                                          CONCLUSION

        For the foregoing reasons, the Court should exclude the testimony of Dr. Cremieux or, in

 the alternative, require additional disclosure and hold a Daubert hearing.

 DATED: December 17, 2021                  Respectfully submitted,

                                          /s/ William J. Vigen
                                          William J. Vigen, Trial Attorney
                                          Megan S. Lewis, Assistant Chief
                                          Anthony W. Mariano, Trial Attorney
                                          Sara M. Clingan, Trial Attorney
                                          Terence A. Parker, Trial Attorney
                                          U.S. Department of Justice, Antitrust Division
                                          Washington Criminal II Section
                                          450 Fifth Street, N.W.
                                          Washington, D.C. 20530
                                          Tel: 202-598-2737 / 202-598-8145 / 202-480-1951 /
                                          202-353-2411 / 202-705-6156
                                          FAX: 202-514-9082
                                          E-mail: william.vigen@usdoj.gov
                                          megan.lewis@usdoj.gov / anthony.mariano@usdoj.gov
                                          sara.clingan2@usdoj.gov / terence.parker2@usdoj.gov

                              CERTIFICATE OF CONFERENCE

        In compliance with Local Rule 7.1(a), the United States conferred with counsel for
 Defendants regarding this motion on December 14, 2021, and Defendants confirmed that they
 oppose the motion.

                                 CERTIFICATE OF SERVICE

       On December 17, 2021, I filed this document with the Clerk of the Court using CM/ECF,
 which will serve this document on all counsel of record.

                                              /s/ William J. Vigen
                                              William J. Vigen




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